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                          EXHIBIT E
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                     UNITED STATES DISTRICT COURT FOR THE
                        FOR THE DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                      MDL No. 3:16-md-2738-MAS-LHG
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY                        JUDGE MICHAEL A. SHIPP
 LITIGATION                                    MAG. JUDGE LOIS H. GOODMAN



 THIS DOCUMENT RELATES TO:                     Civil Case No. 3:20-cv-03797-MAS-LHG

 DIANA LYNN LIPTON v. JOHNSON &
 JOHNSON, et al.



  DECLARATION OF BENNETT MOXON AS CO-SUCCESSOR-IN-INTEREST
   PURSUANT TO CALIFORNIA CODE OF CIVIL PROCEDURE SECTION
                           377.32

 I, Bennett Moxon, declare as follows:

    1. The decedent in this matter is Diana Lynn Lipton. She was my sister.

    2. Diana Lynn Lipton died of ovarian cancer on December 8, 2022, in Santa Rosa,

       California.

    3. A true and correct copy of the death certificate, with social security number

       redacted, is attached as Exhibit A to the instant Motion to Substitute

       Party-Plaintiff.

    4. “No proceeding is now pending in California for administration of the decedent’s

       estate.”
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